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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  8:16CR231
                       Plaintiff,              )
                                               )
       vs.                                     )                   ORDER
                                               )
KEVIN PADILLA-OLMEDO and                       )
FELICIA WILLS,                                 )
                                               )
                       Defendants.             )
       This matter is before the court on the motion to continue by defendant Kevin Padilla-
Olmedo (Padilla-Olmedo) (Filing No. 54). Padilla-Olmedo seeks a continuance of the trial
of this matter was scheduled for February 6, 2017. Padilla-Olmedo’s counsel represents
that government’s counsel has no objection to the motion. Upon consideration, the motion
will be granted, in part. Trial will be continued as to both defendants to March 6, 2017.
Theis order is contingent upon Padilla-Olmedo filing the affidavit required by Paragraph 9
of the Progression Order (Filing No. 16) within ten business days of this order.


       IT IS ORDERED:
       1.      Padilla-Olmedo's motion to continue trial (Filing No. 54) is granted as set forth
above.
       2.      Trial of this matter as to both defendants is re-scheduled for March 6, 2017,
before Judge Robert F. Rossiter, Jr., and a jury. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between December 29, 2016, and March 6, 2017, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason
that defendants’ counsel require additional time to adequately prepare the case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
         DATED this 29th day of December, 2016.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
